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  13
       Manufacturing, Inc.

  14                        UNITED STATES DISTRICT COURT
                           CENTRAL DISTRICT OF CALIFORNIA
  15
       SLEEP NUMBER CORPORATION,               Case No. 5:18–cv–00356 AB (SPx)
  16                                                    5:18–cv–00357 AB (SPx)
  17               Plaintiff,
                                                JOINT STATUS REPORT
  18         v.                                 REGARDING INTER PARTES
  19                                            REVIEW
       SIZEWISE RENTALS, LLC,
  20               Defendant.                   Next Report Due: January 20, 2020
  21
       SLEEP NUMBER CORPORATION,
  22
                   Plaintiff,
  23
  24         v.

  25   AMERICAN NATIONAL
       MANUFACTURING, INC.,
  26
  27               Defendant.

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       Rentals, LLC and American National    Corporation
  21   Manufacturing, Inc.
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             JOINT STATUS REPORT REGARDING INTER PARTES REVIEW
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   1        Pursuant to the Court’s Order Granting Defendants’ Motions to Stay (Case
   2 No. 18-00356 AB (SPx), Dkt. 143; Case No. 18-00357 AB (SPx), Dkt. 142)
   3 (“Order”), Plaintiff Sleep Number Corporation (“Sleep Number”) and Defendants
   4 Sizewise Rentals, LLC and American National Manufacturing, Inc. (“ANM”)
   5 (collectively, “the Parties”), through their respective counsel, respectfully notify the
   6 Court of the current status of the Inter Partes Reviews (“IPRs”) filed by ANM with
   7 the Patent Trial & Appeal Board (“PTAB”) in December 2018.
   8        On July 24, 2019, the PTAB instituted the IPRs for U.S. Patent Nos.
   9 8,769,747 and 9,737,154. On August 5, 2019, the PTAB instituted the IPR for U.S.
  10 Patent No. 5,904,172. The Parties are continuing to litigate all three IPRs pursuant
  11 to scheduling orders issued by the PTAB. Oral argument (if requested) is scheduled
  12 in front of the PTAB on all three IPRs on April 16, 2020.
  13        The next scheduled status report is due January 20, 2020.
  14
  15   Date: November 11, 2019                FOX ROTHSCHILD LLP
  16
                                              /s/ Elizabeth A. Patton
  17                                          Elizabeth A. Patton
  18                                          Attorney for Plaintiff

  19
  20   Date: November 11, 2019                SPENCER FANE LLP
  21                                          /s/ Jaspal S. Hare
  22                                          Jaspal S. Hare
                                              Attorney for Defendants
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              JOINT STATUS REPORT REGARDING INTER PARTES REVIEW
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   1        DECLARATION OF CONSENT TO ELECTRONIC SIGNATURE
   2        Pursuant to Central Dist. LR 5-4.3.4(a)(2), the electronic filer of this Joint
   3 Status Report, Elizabeth A. Patton, hereby attests that all other signatories listed, and
   4 on whose behalf the filing is submitted, concur in the filing’s content and have
   5 authorized this filing.
   6
   7
                                              /s/ Elizabeth A. Patton
                                              Elizabeth A. Patton
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              JOINT STATUS REPORT REGARDING INTER PARTES REVIEW
